                    UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF WISCONSIN
________________________________________________________________________

UNITED STATES OF AMERICA,

                    Plaintiff,
                                                   Case No. 17-CR-124
             v.

MARCUS HUTCHINS,

                 Defendant.
________________________________________________________________________

            DEFENDANT’S POST-HEARING MEMORANDUM
                        (MOTION TO SUPPRESS)
________________________________________________________________________


      Supplementing the defense argument made at the conclusion of May 18,

2018 evidentiary hearing and in prior filings, defendant Marcus Hutchins

submits this memorandum to highlight evidence supporting the suppression of

his post-arrest statements.

                                  DISCUSSION

      The evidence elicited at the hearing – both the testimony and exhibits –

only strengthened the defense’s position that under the totality of the

circumstances Mr. Hutchins’ purported Miranda waiver and post-arrest

statements were involuntary.




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       These are the circumstances the day of Mr. Hutchins’ arrest, August 2,

2017, that, cumulatively and in light of the case law, lead to the conclusion that

his post-arrest statements must be suppressed: Mr. Hutchins did not understand

the nature and posture of the investigation because the FBI agents who arrested

and interrogated him, Agents Butcher and Chartier, intentionally misled him,

even after he made a number of specific inquiries seeking to understand why he

had been arrested; Mr. Hutchins was exhausted at the tail-end of a week-long

partying binge, about which the agents were on notice; and the FBI knew that he

was a citizen of the United Kingdom—one having minimal prior contact with

this country—where a defendant’s post-arrest rights are very different than in

the United States.1 These circumstances, of course, need to be considered all

together, not separately as the government will likely seek to have the Court

weigh them.

       The admissibility of statements derived from custodial interrogation

depends on the validity of the suspect’s Miranda waiver, which requires a



1The defense asks the Court to take judicial notice of what United Kingdom law requires, which
was first discussed in the underlying motion to suppress. (See Dkt. No. 55 at 8 fn. 1.)
Specifically, the following caution is given upon arrest (though minor wording deviations are
allowed): “You do not have to say anything. But it may harm your defence if you do not
mention when questioned something which you later rely on in Court. Anything you do say
may be given in evidence.” Police and Criminal Evidence Act 1984 Code G ¶ 3.5, Revised Code
of Practice for the Statutory Power of Arrest by Police Officers (revised July 2012),
https://www.gov.uk/government/uploads/system/uploads/attachment_data/file/117583/p
ace-code-g-2012.pdf.


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totality of the circumstances revealing that: (1) the waiver was “‘voluntary’ in the

sense that it was the product of a free and deliberate choice rather than

intimidation, coercion, or deception”; and (2) the defendant had “full awareness

of both the nature of the right being abandoned and the consequences of the

decision to abandon it.” Moran v. Burbine, 475 U.S. 412, 421 (1986).

         Deception as a basis for suppression under Moran requires a clear and

convincing showing that the agents affirmatively mislead the defendant as to the

true nature of their investigation, and that the deception was material to the

decision to talk. United States v. Serlin, 707 F.2d 953, 956 (7th Cir. 1983). As the

Seventh Circuit explained, the:

               [s]imple failure to inform defendant that he was the
               subject of the investigation, or that the investigation was
               criminal in nature, does not amount to affirmative
               deceit unless defendant inquired about the nature of the
               investigation and the agents’ failure to respond was
               intended to mislead.

Id. (emphasis added).

         The hearing in this case revealed more fully how the agents ran afoul of

Serlin. As explained in the defense’s pre-hearing memorandum at pages 9-10, a

defendant’s Miranda waiver and statements are involuntary when law

enforcement deceives the defendant in connection with the purpose of a

custodial interrogation. See United States v. Giddins, 858 F.3d 870, 885 (4th Cir.

2017).

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          The following discussion highlights key pieces of testimony and exhibits

that demonstrate the lack of voluntariness: Mr. Hutchins (repeatedly) inquired

about the nature of his arrest and interrogation, and the agents’ (tactical) failure

to respond, among other things, was intended to mislead him, causing him to

talk.

      1. Testimony and Document Exhibit Highlights

          Agents Butcher’s and Chartier’s testimony, as well as the exhibits offered

into evidence, undercuts the government’s position that the waiver and

statements were voluntary. This is particularly true because Mr. Hutchins had

been indicted prior to his interrogation, such that the Court must “indulge in

every reasonable presumption against waiver” (and the burden is on the

government to overcome that presumption). Brewer v. Williams, 430 U.S. 387, 404

(1977); Colorado v. Connelly, 479 U.S. 157, 169 (1986).

              a. Testimony of Agents Chartier and Butcher

          The testimony of the two agents who interrogated Mr. Hutchins supports

suppression. Their testimony revealed that they knew Mr. Hutchins was from

the United Kingdom and that he had been to the United States only once before.2

Their testimony shows they intentionally kept Mr. Hutchins in the dark about



2   Hearing Tr. 77:18-20 (Chartier); 113:25-114:2 and 117:2-8 (Butcher).



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what was happening. (Hearing Tr. at 56:14-24 and 58:16-59:8 (Chartier); 147:17-

148:12 (Butcher).)

         While the agents were hyper-sensitive to the risk that Mr. Hutchins might

take even a single sip of alcohol (Id. 65:20-25 (Chartier)), their concern for his

mental state was (conveniently) myopic. They turned a blind eye to the

possibility that Hutchins had ingested other (non-alcoholic) mind-altering

substances and ignored the effects of a week spent partying all hours of the

night.

         At the outset, it is very important for the Court to remember the agents’

pre-hearing collusion. As Agent Butcher revealed, she and Agent Chartier got

together to “mak[e] sure that we were on – you know, that our facts were the

same.” (Id. 112:4-5.) Their synchronization of their testimony calls into question

their entire characterization of events, and any benefit of any doubt the Court has

regarding what happened should accrue to Mr. Hutchins’ favor.

         Turning to their coordinated testimony, Agent Chartier confirmed that

when Mr. Hutchins was arrested at the airport lounge, the agent was

accompanied by two uniformed customs agents. (Id. 17:12-13.) He was dressed

casually and did not wear anything identifying him as an FBI agent. (Id. 18:10-

12.) This is important because at that moment Mr. Hutchins would have

understandably believed the agents wanted to speak to him about an issue


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related to his travels, his conduct while in Las Vegas, or even the WannaCry

ransomware attack in May 2017 for which he had gained worldwide fame for his

assistance in stopping it and which law enforcement was investigating. There

was unfortunate speculation floating around, which has since been totally

refuted, that Mr. Hutchins had stopped the attack after he had accidentally

released the ransomware.3

       Indeed, the Court knows the agents’ plan was designed to confuse Mr.

Hutchins because Agent Chartier testified that the original plan was to arrest Mr.

Hutchins as he boarded his flight home. (Id. 65:8-13.) This plan – maximizing

Mr. Hutchins’ time experiencing normal travel – would have led Mr. Hutchins to

further miscomprehend the nature of and likely reason for his arrest.

       As Agent Butcher confirmed, they knew of Mr. Hutchins arrival to and

weeklong presence in Las Vegas, and even though an indictment had been

returned and arrest warrant issued, they chose not to arrest him then or any time

before he was leaving. (Id. 115:20-116:4.) They knew that arresting him at the

airport at the last moment they deemed possible before he departed would lead

him to believe that his detention was somehow related to his travels to Las


3In late 2017, White House Homeland Security Advisor Tom Bossert lauded Mr. Hutchins for
his role in stopping the attack, which the United States has attributed to North Korea. Kevin
Collier, Words of Praise But No Forgiveness for Hacker Who Stopped North Korean Cyberattack,
BUZZFEED NEWS, Dec. 19, 2017, https://www.buzzfeed.com/kevincollier/words-of-praise-
but-no-forgiveness-for-hacker-who-stopped?utm_term=.lykQGxXww#.bx7mkyRgg.


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Vegas, his conduct while there, or even WannaCry. Although this plan was

abandoned because Mr. Hutchins ordered a soda in the lounge, it speaks loudly

to the agents’ true intent of suggesting to him that his arrest related to his travels,

not some alleged events in his distant past.

       Back to events in the airport lounge. Agent Chartier conceded he only

asked Mr. Hutchins if he was drunk, a circumstance of real concern to the agent.

(Id. 65:11-25; 69:14-70:1.) But while Mr. Hutchins’ non-alcoholic intoxication (like

from drugs) would have been equally concerning, Agent Chartier chose not to

inquire. (Id. 69:14-70:15.) Neither did Agent Butcher. (Id. 143:13-15.)

       Despite their incomplete inquiry regarding Mr. Hutchins’ possible

impairment, Agent Chartier testified overall that from his perspective he thought

Mr. Hutchins was in a good state of mind for the interrogation. But on cross-

examination, Agent Chartier acknowledged that he had no basis for reaching this

conclusion, since he had met Mr. Hutchins for the first time that day. (Id. 45:15-

18.)

       As part of his basis for believing Mt. Hutchins to be unimpaired, Agent

Chartier testified that Mr. Hutchins explained that a password to unlock one of

his devices was long enough that he could not type it when he was “intoxicated.”

(Id. 32:5.) But Agent Chartier’s testimonial verbiage was imprecise. The audio

recording reveals that Mr. Hutchins actually said he struggled to type the


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password when “drunk.” (Interrogation Tr. 18:55.) But plenty of people can do

things when they are high they cannot do when they are drunk, and vice-versa.

       Agent Chartier testified that he revealed he was with the FBI and told Mr.

Hutchins that he was under arrest pursuant to a federal arrest warrant just after

Mr. Hutchins had been detained, when he and the customs officers took Mr.

Hutchins from the lounge to a stairwell. (Hearing Tr. 19:8-23.) By his own

admission, however, Agent Chartier did not explain the charges or what was

going on, despite Mr. Hutchins’ numerous questions in the hallway. (Id. at 19:25-

20:4; 58:25-59:1.)4

       In addition, Agent Chartier claimed that after he escorted Mr. Hutchins to

the (pre-arranged) interrogation room, he and Agent Butcher again advised Mr.

Hutchins that he was under arrest pursuant to a federal arrest warrant. (Id.

20:25-21:1.) Notably, they did not explain anything else. Agent Chartier

acknowledged that Mr. Hutchins was not told that the arrest warrant flowed

from an indictment, much less that the indictment charged six felony offenses

stemming from the development and sale of Kronos. (Id. 56:22-24.)

       Further, although the agents tried to coordinate their testimony, Agent

Butcher’s testimony about these meaningful events was quite different from



4The defense maintains that this testimony—namely, that Agent Chartier mentioned an arrest
warrant to Mr. Hutchins–is inconsistent with his prior statements.


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Agent Chartier’s. She did not testify that he (Agent Chartier) advised Mr.

Hutchins that he was under arrest pursuant to a federal arrest warrant. Only

Agent Chartier makes this claim, one that is undermined by Agent Butcher and

otherwise lacks any support in the record.

      Timing, as in what the clock teaches, also matters. Despite the fact that Mr.

Hutchins was escorted out of the lounge at 1:17 p.m. and the audio recording

started at approximately 1:18 p.m. (see Exhibits 14 and 9), Agent Chartier claimed

that he read Mr. Hutchins the Advice of Rights form (Exhibit 9) and Mr.

Hutchins read and signed it. (Hearing Tr. 24:25-25:6.)

      The events Agent Chartier shared simply could not have happened against

the clock, as it is depicted in the FBI’s surveillance log. After all, Agent Chartier’s

own version of events involved walking Mr. Hutchins from the lounge to a

stairwell; cuffing and engaging in stairwell conversation with Mr. Hutchins; and

then walking Mr. Hutchins down to the interrogation room, getting settled there,

and making introductions all before any administration of Miranda warnings

would have occurred.

      Overall, the agents’ testimony confirms what the other evidence firmly

establishes: they arrested a person who promptly and affirmatively asked to

know why he was in custody, and the agents intentionally avoided providing




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him with any meaningful response to his understandable and repeated direct

questions.

          b. The Document Exhibits

      The exhibits provide additional support for the defense’s argument.

The arrest warrant (Exhibit 12) is particularly compelling evidence for two

reasons. First, according to Agent Butcher, it was only shown to Mr. Hutchins

over an hour into his interrogation. (Hearing Tr. 148:2-12.) Until then, as the

audio recording reveals (see discussion below), Mr. Hutchins had no idea that he

had been charged in the Eastern District of Wisconsin, the nature of the charges,

or even why he was being interrogated. Second, the only offense the warrant

specifically references is a violation of 18 U.S.C. § 371, which the face of the

warrant depicts in the vaguest of terms, suggestive of cheating on one’s taxes:

conspiracy to defraud the United States. So even after seeing the warrant, Mr.

Hutchins was not on notice that there were six felony charges, or that any of

them related to his alleged involvement with Kronos several years prior.

      The FBI surveillance log (Exhibit 14) also supports suppression. It shows

the agents could have arrested Mr. Hutchins much earlier in the day. After all, as

the log notes, they started surveilling him at 6:44 a.m. on the day of his arrest,

when he was still at his Airbnb. They could have arrested him at any time

during his trip to Las Vegas. But as discussed above, the timing and manner of


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the arrest – after more than a week of partying, and at the airport with the

involvement of uniformed custom officers – was meant to create confusion and

mislead Mr. Hutchins about what was really happening.

      The log also reveals that Mr. Hutchins was escorted out of the airport

lounge at 1:17 p.m., which the agents both confirmed. (Hearing Tr. 51:18

(Chartier); 123:8-10 (Butcher).) This is important because, based on the time

Agent Butcher later added to the Advice of Rights form, approximately 1:18 p.m.,

the agents had very little time to place Mr. Hutchins in handcuffs, walk him to

the interrogation room, and as they claim, read to him and have him read and

sign the Advice of Rights form.

      In light of the testimony and evidence discussed above, the defense renews

its request that the Court should exclude the Advice of Rights form (Exhibit 9)

that Agent Butcher altered from its consideration here. The defense also renews

its request that the Court should draw from the circumstances an inference

adverse to the government’s position that Mr. Hutchins was warned of and

waived his constitutional rights before making a post-arrest statement.

      Even if the Court still considers the Advice of Rights form over the

defense’s objection, the Court should only consider that on its face it was

executed at some point in time, not at any particular time. Agent Butcher’s

belated inclusion of the times, which neither she nor anyone else at the FBI ever


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documented, calls into question when during the extended time the agents and

Mr. Hutchins shared together the advisement of rights and waiver occurred (a

question the recorded statement cannot answer).

    2. Highlights of the Recorded Portion of Mr. Hutchins’ Post-Arrest
       Interrogation (Exhibit 1)

       Agent Butcher’s failure to start the audiotape at the very beginning of Mr.

Hutchins’ post-arrest interrogation leaves a gap in the record that severely

prejudices him. A complete recording—something that is unavailable to this

Court—would provide irrefutable evidence of what did and did not happen

during custodial interrogation. The lack of a complete recording is truly

unfortunate, and the responsibility for this important evidentiary deficit rests

solely at the feet of the FBI.

       That said, even the incomplete recording supports suppression. The

defense would direct the Court’s attention to following portions, which are

divided up by topic and demonstrate the FBI agents knew Mr. Hutchins was

exhausted from partying and they intentionally misled him so that he did not

understand the nature and purpose of the interrogation:5




5These are defense-prepared draft transcriptions of what was recorded. The times provided are
approximations. The defense provides these as an aid to Court when it listens to the audio
recording.


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    Partying and Exhaustion

17:26-18:13      Butcher:    So what was the best presentation you saw?
                 Hutchins:   I didn’t see any. I just come for the parties.
                 Butcher:    Oh, really (laughs) . . .

                 [Brief discussion of Mr. Hutchins’ phone passcode follows.]

                 Butcher:    So, really, you didn’t go see anything?
                 Hutchins:   No.
                 Butcher:    You just went to the parties.
                 Hutchins:   Yeah.
                 Butcher:    All right.
                 Hutchins:   I mean, like, I’m a bit of an introvert, so like, too
                             many people in a big crowded room . . .
                 Butcher:    Yeah, not your thing. Not my thing, either, for
                             sure.
                 Hutchins:   No, I’m more of a like… Once I’m drunk I’m fine,
                             so I go to the parties, and it’s just networking,
                             really.
                 Butcher:    Right. Yeah.
                 Chartier:   A little liquid courage.
                 Hutchins:   Yep.

                 [From an early point in the interrogation, the agents knew Mr.
                 Hutchins had been partying the entire time of his stay in Las
                 Vegas, and thus, they must have understood he would be
                 utterly worn out by then.]

58:53-59:09      (Hutchins yawns.)
                 Chartier:   How much sleep did you get last night?
                 Hutchins: Not a lot.
                 Chartier:   None at all?
                 Hutchins: Well, no, I got to bed for like two hours and then I
                             had to get up and pack.

                 [The agents never asked Mr. Hutchins if he was exhausted,
                 but here he tells them that he had only two hours of sleep the
                 night before (after a long week of partying).]


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    Agents Intentionally Misleading Mr. Hutchins and His Confusion

00:30-00:32      Hutchins:   Can you please tell me what this is about?
                 Butcher:    We’re going to get to it.

                 [The agents then proceed to discuss his background and
                 current job for the next ten minutes. They do not answer that
                 question directly, and show him the arrest warrant, which
                 does not mention Kronos, for well over an hour into the
                 interrogation, as discussed below. They never show him the
                 indictment. Nowhere do the agents mention on the recording
                 that they started recording mid-interrogation, what happened
                 before the tape started recording, or when the recording
                 began.]

1:40-1:55        Chartier:   All right so like I said, we have a bunch of
                             questions for you. We hope you can fill in the
                             gaps. What’s your education?

                 [Agent Chartier makes this sound like an open-ended
                 investigation and does not specify the focus of his question.
                 As the Court will hear when listening to the rest of the
                 recording, the agents’ questioning is very broad-based and
                 bounces among multiple topics, not just Kronos. This would
                 leave any reasonable person not understanding what is really
                 at issue: that he is under indictment, charged with specific
                 crimes based on finite alleged conduct.]

5:05-5:22        Chartier:   Okay. And I don’t know if we did this in the
                             beginning. Sorry, my brain is like—
                 Butcher:    You’re like a mile a minute. Go ahead.
                 Chartier:   Did you—did we have a passport for you? I
                             didn’t have—we didn’t take one off of you. Did
                             you have a passport.
                 Hutchins:   It’s in the bag.
                 Chartier:   It’s in your bag? Okay. All right. Well just for the
                             record, could you go ahead and state your full
                             name and then give your date of birth?



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                 [This exchange shows that at the start of the interrogation
                 Agent Chartier was rushing through things to the extent that
                 even Agent Butcher noticed. It is consistent with the defense
                 position that the agents did not take the time they claim to
                 have taken in terms of communicating with Mr. Hutchins,
                 including about such facts as the nature of his situation and
                 his Miranda rights.]

11:31-12:15      Hutchins:   Kronos. I know that name. That was a guy I did
                             work for awhile back I sold him some injection
                             code or something? Is that what this is about?
                             You’re looking for the Kronos developer?
                 Chartier:   Well, I don’t think we’re looking. We know who
                             the Kronos developer is.
                 Hutchins:   You don’t—because it ain’t me . . .

                 [Although the agents claim he created Kronos, they fail to
                 explain to Mr. Hutchins they have arrested him on charges
                 related to Kronos.]

15:16-15:53      Hutchins:   Yeah, well I have an account for research
                             purposes at Malware Tech at xmpp.jp, I think it
                             is.
                 Butcher:    Are you worried about that one now? Now that
                             you’re kind of out in the public eye, research-
                             wise?
                 Hutchins:   I don’t use it for research anymore, but I am a
                             little worried that now, because everybody
                             knows I’m a researcher, they’re all going to come
                             back and bite me.
                 Butcher:    Right.
                 Hutchins:   Which is probably why I’m here.
                 Chartier:   No, that’s not the reason you’re here, buddy.
                 Butcher:    So you said you got rid of the laptops. . .

                 [Mr. Hutchins again expresses uncertainty about why he is
                 being interrogated. And the agents again fail to explain the
                 true purpose, despite being given another opportunity to do
                 so.]


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27:56-29:20      Chartier:   So you haven’t had any other involvement
                             in any other pieces of malware that are out or
                             have been out?
                 Hutchins:   Only the form-grabber and the bot.
                 Chartier:   Okay. So you did say the form-grabber for
                             Kronos, then?
                 Hutchins:   Not the form-grabber for Kronos. It was an earlier
                             one released in about I’m gonna say 2014?
                 Chartier:   And what was the name of that?
                 Hutchins:   Oh, fuck. I really can’t remember. No, I’m
                             drawing a blank. I mean, like, I actually sell the
                             code. I sell it to people and then they do what the
                             fuck they want with it.
                 Chartier:   I understand, I understand, I understand. But you
                             see why we’re here?
                 Hutchins:   Yep. I can definitely see.
                 Chartier:   I mean, you know, Marcus, I’ll be honest with
                             you. You’re in a fair bit of trouble.
                 Hutchins:   Mmm-hmm.
                 Chartier:   So I think it’s important that you try to give us
                             the best picture, and if you tell me you haven’t
                             talked to these guys for months, you know, you
                             can’t really help yourself out of this hole. Does
                             that make sense?
                 Hutchins:   Yeah.
                 Chartier:   Now, I’m not trying to tell you to do something
                             you’re not doing, but I know you’re more active
                             than you’re letting on, too. Okay?
                 Hutchins:   I’m really not. I have ceased all criminal activity
                             involving-
                 Chartier:   Yeah, but you still have access and information
                             about these guys.
                 Hutchins:   What do you mean? Like, give me a name and I’ll
                             tell you what I know about that.
                 Chartier:   All right, why don’t you start out with this list of
                             nics.

                 [Although the agents almost tell him why he is being
                 interrogated, they still leave it up to Mr. Hutchins to guess.
                 And by the end of this conversation, they are focused on what

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                  he might be currently doing, not anything historical like his
                  alleged involvement with Kronos.]

35:52-36:03       Butcher:    He paid your VPS—
                  Hutchins:   If I’m going to go jail because he paid my
                              $7 VPS, I’m going to pissed.
                  Butcher:    Why did he pay for your VPS?

                  [Mr. Hutchins again makes it known he is not really sure why
                  he is being interrogated.]

57:58-58:23       Chartier: Well, you brought up WannaCry, so.
                  Butcher:   Yeah, well, we were gonna ask you about that
                             anyway.
                  Hutchins: That’s gonna suck. [laughter]
                  Butcher:   Wow. It was quite the… Pretty overwhelming for
                            you, I guess, with all the attention it got.
                  Hutchins: Yeah, I’m still not over it, oh man, that was
                            something. And now I guess I get to go through it
                            again, will I get indicted for whatever bullshit this
                            is.

                  [Mr. Hutchins understandably thinks the agents are
                  interrogating him to gather information about WannaCry,
                  which had garnered international headlines. He also again
                  makes it clear that he does not know what the nature of the
                  case is.]

1:03:45-1:03:58   Hutchins:   So can I just ask, is this just some shit to get me to
                              give you the [WannaCry sinkhole] domain,
                              because I know you wanted that, right?
                  Butcher:    No.
                  Hutchins:   Yeah
                  Chartier:   No.
                  Hutchins:   No, okay.
                  Chartier:   No, this is not some shit to get us the domain.

                  [Mr. Hutchins again, over an hour into the interrogation,
                  reveals confusion about what is really going on and the agents
                  again fail to clear it up.]

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1:11:06-1:11:14   Hutchins:    So do you think I’m behind it or something?
                  Chartier:    WannaCry?
                  Butcher:     No.
                  Hutchins:    Okay.

                  [Mr. Hutchins again believes the interrogation is really about
                  WannaCry, and the agents do not explain the true purpose.]

1:17:45-1:18:02   Chartier:    Okay. Well here’s the arrest warrant. And
                               just to be honest -if I’m being honest with you,
                               Marcus. This has absolutely nothing to do with
                               WannaCry.

                  [Over 75 minutes into the interrogation, the agents finally
                  show Mr. Hutchins the arrest warrant. Agent Chartier admits
                  the interrogation had nothing to do with WannaCry,
                  implicitly acknowledging their understanding that Mr.
                  Hutchins believed the interrogation to be about WannaCry.]

1:19:10-1:19:18   Chartier:    What questions do you have for us?
                  Hutchins:    I don’t really have any. Like, my only one was
                               why the hell am I here and you’ve answered that
                               pretty well.
                  Chartier:    Okay. Well, we’ll step out for a second. Give us a
                               minute to talk . . .

                  [Now that he has seen the arrest warrant, Mr. Hutchins for the
                  first time understands why he might have been arrested,
                  although even the arrest warrant lacks any mention of Kronos,
                  instead advising only that he is charged with conspiring to
                  defraud the United States.]

   3. Highlight of the Jail Calls (Exhibits 2 and 3)

      As part of the hearing, the audio recordings of two jails between Mr.

Hutchins and his boss were offered and accepted into evidence as Exhibits 2 and




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3.6 Statements Mr. Hutchins made on those calls tend to support the conclusion

that his Miranda waiver and post-arrest statements were involuntary. They

establish that Mr. Hutchins: (1) as a citizen of the United Kingdom, did not have

an understanding of this country’s criminal justice system; and (2) did not

understand the reason for and basis of his custodial status. The pertinent

statements of Mr. Hutchins are:

     First Call – “I think they are going to put me in before a judge
      and that’ll decide what happens next or something along
      those lines, I don’t really know how it works.”

     Second Call – “So, I am not really sure what is going on, but I
      don’t think it is shit I did in like 2005.”

       The government contends that the jail calls are relevant because they

purportedly demonstrate Mr. Hutchins was not impaired when the agents

interrogated him or coerced by the agents to talk, despite the fact that neither

topic is discussed on the calls. 7

       With regard to impairment, although the calls took place the day of the

arrest, the first one was not placed until many hours after Mr. Hutchins’ arrest

and interrogation. The calls, therefore, do not speak to his condition during the

interrogation.

6 The defense objected to their consideration in its pre-hearing memorandum and maintains that
objection.
7 The Court should not rely on the FBI-prepared transcript of the first jail call, which is in

evidence as Exhibit 7 and which, based on a defense review, contains discrepancies with what is
actually said on the call.


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       Regarding coercion, the fact that Mr. Hutchins does not tell his boss that

he was coerced or deceived into talking is meaningless in light of the

circumstances. At the time of the jail calls, Mr. Hutchins had not yet been to

court. He had not met with a lawyer, received a copy of the indictment, heard a

recitation of the charges, or had the benefit of any of the other advisements

incidental to an initial appearance in court. And so there is no basis for believing

that Mr. Hutchins, at the time of the jails calls, would have yet had reason to

realize the way the agents intentionally hid the ball from him during the course

of the interrogation.

      Moreover, Mr. Hutchins’ comfort in discussing sensitive matters with his

boss, which the Court will hear when it listens to the audiotapes, does not speak

to the voluntariness of an earlier decision to speak with law enforcement. It

simply means he was comfortable talking with a confidante.

      To the extent the Court considers the jail calls at all, they only lend support

to Mr. Hutchins’ broader argument.

                                 CONCLUSION

      When Mr. Hutchins was taken into custody in Las Vegas on August 2,

2017, he was not a mere subject or even a target of a criminal investigation—

somebody who law enforcement might want to only question. Instead, he was

under indictment in this District. What that meant, of course, is that there was


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nothing Mr. Hutchins could have said when he was arrested on August 2 that

would have changed the inevitable course of his having to appear initially before

a judge in the District of Nevada and to answer to multiple felony charges in this

District.

       But despite Mr. Hutchins’ multiple direct questions to the FBI agents who

arrested him about the nature of his circumstance (e.g., “Can you please tell me

what this is about?,” asked at the outset of the interrogation) and

notwithstanding his frequent expressions of uncertainty about the agents’ focus

of inquiry, the agents intentionally concealed from him the true and pertinent

nature of his then-existing reality (e.g., “We’re going to get to it,” then somewhat

revealing things 75 minutes later). Under these circumstances, bolstered by his

known-to-the-agents exhaustion and status as a foreigner (among other things),

Mr. Hutchins “full awareness of both the nature of the right being abandoned

and the consequences of the decision to abandon it” was fatally compromised.

See Moran, 475 U.S. at 421 (1986).

       The Court should suppress Mr. Hutchins’ post-arrest statements, and any

evidence the government may have obtained as a result of those statements.


DATED: May 30, 2018                    Respectfully submitted,

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